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Sandra Haberny (#260977)                    Edward R. Reines (#135960)
Quinn Emanuel Urquhart & Sullivan LLP       Derek C. Walter (#246322)
865 S. Figueroa Street, 10th Floor          Weil, Gotshal & Manges LLP
Los Angeles, CA 90017                       201 Redwood Shores Parkway
Telephone: (213) 443-3000                   Redwood Shores, CA 94065
Facsimile: (213) 443-3100                   Telephone: (650) 802-3000
sandrahaberny@quinnemanuel.com              Facsimile: (650) 802-3100
                                            Edward.reines@weil.com
Attorney for Defendant                      Derek.walter@weil.com
SOMALOGIC, INC
                                            Attorneys for Plaintiff
                                            NAUTILUS BIOTECHNOLOGY, INC.

Kalpana Srinivasan (#237460)
Susman Godfrey LLP
1900 Avenue of the Stars, Suite 1400
Los Angeles, California 90067
Telephone: (310) 789-3100
ksrinivasan@SusmanGodfrey.com

Attorney for Defendant
CALIFORNIA INSTITUTE OF
TECHNOLOGY



                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

NAUTILUS BIOTECHNOLOGY, INC.,           )     Case No.: 23-cv-06440-CRB
                                        )
                     Plaintiff,         )
                                        )     STIPULATION AND [PROPOSED]
       v.                               )     ORDER TO EXTEND DEADLINE TO
                                        )     FILE RESPONSIVE PLEADING TO
SOMALOGIC, INC., et al.,                )     COMPLAINT
                                        )
                     Defendants.        )
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       Plaintiff Nautilus Biotechnology, Inc. (“Nautilus”) and Defendants SomaLogic, Inc.

(“SomaLogic”) and California Institute of Technology (“Caltech”) (collectively, the “Parties”)

hereby stipulate to extend the time for Defendants SomaLogic and Caltech to respond to the

Complaint (ECF No. 1) of Plaintiff Nautilus to March 29, 2024.



 Dated: January 23, 2024                          /s/ Sandra L. Haberny

                                                  Sandra Haberny (#260977)
                                                  Quinn Emanuel Urquhart & Sullivan LLP
                                                  865 S. Figueroa Street, 10th Floor
                                                  Los Angeles, CA 90017
                                                  Telephone: (213) 443-3000
                                                  Facsimile: (213) 443-3100
                                                  sandrahaberny@quinnemanuel.com

                                                  Attorney for Defendant SomaLogic, Inc.


                                                  /s/ Kalpana Srinivasan


                                                  Kalpana Srinivasan (#237460)
                                                  Susman Godfrey LLP
                                                  1900 Avenue of the Stars, Suite 1400
                                                  Los Angeles, California 90067
                                                  Telephone: (310) 789-3100
                                                  ksrinivasan@SusmanGodfrey.com

                                               Attorney for Defendant California Institute of
                                               Technology




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Dated:                                     /s/ Edward Reines

                                           Edward R. Reines (#135960)
                                           Derek C. Walter (#246322)
                                           Weil, Gotshal & Manges LLP
                                           201 Redwood Shores Parkway
                                           Redwood Shores, CA 94065
                                           Telephone: (650) 802-3000
                                           Facsimile: (650) 802-3100
                                           Edward.reines@weil.com
                                           Derek.walter@weil.com

                                       Attorneys for Plaintiff Nautilus Biotechnology,
                                       Inc.




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                                          ORDER


IT IS HEREBY ORDERED that, pursuant to the parties’ stipulation, Defendants’ deadline to file
their responsive pleadings to the Complaint is extended to March 29, 2024.


Dated: January ____, 2024                                _____________________________
                                                         Hon. Charles R. Breyer
                                                         United States District Judge




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